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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
      Plaintiff,                      §                     Case No: 6:21-cv-00230-ADA
                                      §
vs.                                   §                     PATENT CASE
                                      §
PORSCHE CARS NORTH AMERICA,           §
INC.,                                 §
                                      §
      Defendant.                      §
_____________________________________ §

                  NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff Display Technologies, LLC (“Plaintiff” and/or “Display”) files this Notice of

Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

court by filing a notice of dismissal at any time before service by the adverse party of an answer.

Accordingly, Plaintiff hereby voluntarily dismisses this action against Defendant Porsche Cars

North America, Inc. with prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own

fees and costs.




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Dated: November 24, 2021.              Respectfully submitted,


                                       /s/Jay Johnson
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                                       ATTORNEYS FOR PLAINTIFF


                               CERTIFICATE OF SERVICE

      The undersigned hereby certifies that the foregoing document was filed electronically on
November 24, 2021, and was served via CM/ECF on all counsel who are deemed to have consented
to electronic service.

                                       /s/Jay Johnson
                                       JAY JOHNSON




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